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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION

    UNITED STATES OF AMERICA                                                               Plaintiff

    v.                                                 Criminal Action No. 3:21-CR-44-RGJ-CHL

    BRANDON WASHINGTON,                                                                Defendants
    JAVONTE GRANT

                                              * * * * *

                          MEMORANDUM OPINION AND ORDER

         Brandon Washington (“Washington”) moves to suppress evidence, challenging the validity

of evidence and testimony related to pretrial photographic identifications of him. [DE 65]. The

United States Responded, [DE 67], and co-defendant Javonte Grant (“Grant”) adopted and joined

in the motion [DE 70]. This matter is ripe.

         An in-person hearing was held on this matter on May 31, 2022, during which Counsel

advised the Court that the motion to suppress [DE 65] is moot, as the United States does not intend

to introduce the identification that Grant and Washington challenge. Washington’s counsel

additionally requested 30 days to file additional motions related to the challenged evidence, and

the United States requested 14 days to respond.

         Accordingly, for the reasons stated, and the Court being otherwise sufficiently advised, IT

IS ORDERED that:

         1) Washington and Grant’s Motion to Suppress [DE 65] is DENIED as moot;

         2) Washington may file any additional motions within 30 days of this Order, and the

            United States may file any reply within 14 days of the filing of any motion.




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Cc:   Counsel of record



Court Reporter: April Dowell

Court Time: 00/25



                                                   May 31, 2022




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